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                                                                 FILED: February 2, 2024

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                          No. 23-2192
                                   (1:23-cv-01177-LMB-IDD)
                                     ___________________

        NORTHERN VIRGINIA HEMP AND AGRICULTURE, LLC; ROSE LANE;
        FRANNY'S OPERATIONS, INC.

                     Plaintiffs - Appellants

        v.

        COMMONWEALTH OF VIRGINIA; GLENN YOUNGKIN, Governor of the
        Commonwealth of Virginia, in his official capacity; JASON S. MIYARES,
        Attorney General for the Commonwealth of Virginia, in his official capacity;
        BOARD OF AGRICULTURE AND CONSUMER SERVICES; JOSEPH
        GUTHRIE, Commissioner of the Virginia Department of Agriculture and
        Consumer Services, in his official capacity; VIRGINIA CANNABIS CONTROL
        AUTHORITY; STEVE DESCANO, Commonwealth's Attorney for the County of
        Fairfax, in his capacity; BUTA BIBERAJ, Commonwealth's Attorney for the
        County of Loudoun, in her official capacity; BRYAN L. PORTER,
        Commonwealth's Attorney for the City of Alexandria, in his official capacity;
        AMY ASHWORTH, Commonwealth's Attorney for the County of Prince
        William, in her official capacity; PARISA DEHGHANI-TAFTI, Commonwealth's
        Attorney for the County of Arlington and the City of Falls Church, in her official
        capacity; SCOTT C. HOOK, Commonwealth's Attorney for the County of
        Fauquier, in his official capacity; BRYAN CAVE, Commonwealth's Attorney for
        the County of Page, in his official capacity; R. ALLEN NASH, Commonwealth's
        Attorney for the County of Mecklenburg, in his official capacity; KRYSTYN
        REID, Commonwealth's Attorney for the County of York and the City of
        Poquoson, in her official capacity; VINCENT DONOGHUE, Commonwealth's
        Attorney for the County of Essex, in his official capacity; COOPER BROWN,
        Commonwealth's Attorney for the County of Franklin, in his official capacity;
        DIANA WHEELER O'CONNELL, Commonwealth's Attorney for the County of
        Orange, in her official capacity; MEGAN L. CLARK, Commonwealth's Attorney
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        for the County of Prince Edward, in her official capacity; MICHAEL T. HURD,
        Commonwealth's Attorney for the County of Middlesex, in his official capacity;
        R. E. CHALKLEY, Commonwealth's Attorney for the County of Hanover, in his
        official capacity; COLIN D. STOLLE, Commonwealth's Attorney for the City of
        Virginia Beach, in his official capacity; MARC ABRAMS, Commonwealth's
        Attorney for the County of Page, in his official capacity; MEREDITH ADKINS,
        Commonwealth's Attorney for the County of King and Queen, in her official
        capacity; JOHN R.H. ALEXANDER, Commonwealth's Attorney for the County
        of Botetourt, in his official capacity; GERALD D. ARRINGTON,
        Commonwealth's Attorney for the County of Buchanan, in his official capacity;
        KEMPER M. BEASLEY, III, Commonwealth's Attorney for the County of
        Buckingham, in his official capacity; ANTON A. BELL, Commonwealth's
        Attorney for the City of Hampton, in his official capacity; JOHN S. BELL,
        Commonwealth's Attorney for the County of Warren, in his official capacity;
        CLARISSA BERRY, Commonwealth's Attorney for the County of Madison, in
        her official capacity; TRAVIS BIRD, Commonwealth's Attorney for the County
        of Spotsylvania, in his official capacity; WILLIAM BLAINE, Commonwealth's
        Attorney for the County of Brunswick, in his official capacity; DAYNA
        KENDRICK BOBBITT, Commonwealth's Attorney for the County of Patrick, in
        her official capacity; JONATHAN BOURLIER, Commonwealth's Attorney for
        the County of Dinwiddie, in his official capacity; TOM C. BOWEN, III,
        Commonwealth's Attorney for the County of Mathews, in his official capacity;
        THOMAS E. BOWERS, Commonwealth's Attorney for the City of Salem, in his
        official capacity; BRANDON BOYLES, Commonwealth's Attorney for the
        County of Grayson and City of Galax, in his official capacity; ERIC
        BRANSCOM, Commonwealth's Attorney for the County of Floyd, in his official
        capacity; ROGER D. BROOKS, Commonwealth's Attorney for the County of
        Carroll and the City of Galax, in his official capacity; TIFFANY BUCKNER,
        Commonwealth's Attorney for the City of Petersburg, in her official capacity;
        DONALD S. CALDWELL, Commonwealth's Attorney for the City of Roanoke,
        in his official capacity; W. LYLE CARVER, Commonwealth's Attorney for the
        County of Amherst, in his official capacity; D. MICHAEL CAUDILL,
        Commonwealth's Attorney for the County of Goochland, in his official capacity;
        ROBERT CERULLO, Commonwealth's Attorney for the County of Powhatan, in
        his official capacity; ALFRED G. COLLINS, Commonwealth's Attorney for the
        City of Colonial Heights, in his official capacity; EDWIN CONSOLVO,
        Commonwealth's Attorney for the County of Greene, in his official capacity;
        ERIC A. COOKE, Commonwealth's Attorney for the City of Franklin and the
        County of Southampton, in his official capacity; H. FULLER CRIDLIN,
        Commonwealth's Attorney for the County of Lee, in his official capacity;
        JOSHUA CUMBOW, Commonwealth's Attorney for the County of Washington,
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        in his official capacity; STACEY DAVENPORT, Commonwealth's Attorney for
        the County of Chesterfield, in her official capacity; DEREK DAVIS,
        Commonwealth's Attorney for the County of Surry, in his official capacity;
        STEVEN C. DAVIS, Commonwealth's Attorney for the County of Wise and the
        City of Norton, in his official capacity; MELISSA A. DOWD, Commonwealth's
        Attorney for the County of Highland, in her official capacity; MATTHEW
        DUNNE, Commonwealth's Attorney for the County of Craig, in his official
        capacity; JOHN DUSEWICZ, Commonwealth's Attorney for the County of
        Gloucester, in his official capacity; JOSH O. ELROD, Commonwealth's Attorney
        for the City of Buena Vista, in his official capacity; ROY F. EVANS,
        Commonwealth's Attorney for the County of Smyth, in his official capacity;
        RAMIN FATEHI, Commonwealth's Attorney for the City of Norfolk, in his
        official capacity; DANIEL FELLHAUER, Commonwealth's Attorney for the
        County of Scott, in his official capacity; SUSAN FIERRO, Commonwealth's
        Attorney for the County of Prince George, in her official capacity; LESLIE M.
        FLEET, Commonwealth's Attorney for the County of Appomattox, in his official
        capacity; JEFFREY GAINES; ANN GARDNER, Commonwealth's Attorney for
        the County of Alleghany and the City of Covington, in her official capacity;
        MASHA L. GARST, Commonwealth's Attorney for the County of Rockingham
        and the City of Harrisonburg, in her official capacity; ARTHUR L. GOFF,
        Commonwealth's Attorney for the County of Rappahannock, in his official
        capacity; WILLIAM E. GREEN, Commonwealth's Attorney for the County of
        Charlotte, in his official capacity; NATHAN GREEN, Commonwealth's Attorney
        for the County of James City and the City of Williamsburg, in his official
        capacity; JUSTIN GRIFFITH, Commonwealth's Attorney for the County of
        Pulaski, in his official capacity; KERI GUSMANN, Commonwealth's Attorney
        for the County of King George, in her official capacity; HOWARD E. GWYNN,
        Commonwealth's Attorney for the City of Newport News, in his official capacity;
        JEFFREY HAISLIP, Commonwealth's Attorney for the County of Fluvanna, in
        his official capacity; G. ANDY HALL, Commonwealth's Attorney for the City of
        Martinsville, in his official capacity; MATTHEW R. HAMEL, Commonwealth's
        Attorney for the City of Chesapeake, in his official capacity; WENDY J.D.
        HANNAH, Commonwealth's Attorney for the County of Cumberland, in her
        official capacity; LEE RANDOLPH HARRISON, Commonwealth's Attorney for
        the County of Amelia, in his official capacity; BETHANY HARRISON,
        Commonwealth's Attorney for the County of Lynchburg, in her official capacity;
        ROBERT HASKINS, Commonwealth's Attorney for the County of Pittsylvania,
        in his official capacity; BEN HEIDT, Commonwealth's Attorney for the County
        of Caroline, in his official capacity; JAMES HINGELEY, Commonwealth's
        Attorney for the County of Albermarle, in his official capacity; BRIAN
        HOLOHAN, Commonwealth's Attorney for the County of Roanoke, in his official
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        capacity; ELIZABETH K. HUMPHRIES, Commonwealth's Attorney for the City
        of Fredericksburg, in her official capacity; MICHAEL D. JONES,
        Commonwealth's Attorney for the County of Wythe, in his official capacity;
        DAVID L. LEDBETTER, Commonwealth's Attorney for the City of Waynesboro,
        in his official capacity; ROBERT M. LILLY, JR., Commonwealth's Attorney for
        the County of Giles, in his official capacity; TIM MARTIN, Commonwealth's
        Attorney for the County of August, in his official capacity; TRACY
        QUACKENBUSH MARTIN, Commonwealth's Attorney for the County of
        Halifax, in her official capacity; PAUL A. MCANDREWS, Commonwealth's
        Attorney for the County of Campbell, in his official capacity; COLETTE
        WALLACE MCEACHIN, Commonwealth's Attorney for the City of Richmond,
        in her official capacity; R. E. MCGUIRE, Commonwealth's Attorney for the
        County of Louisa, in his official capacity; JARED L. MOON, Commonwealth's
        Attorney for the City of Lexington and the County of Rockbridge, in his official
        capacity; STEPHANIE MORALES, Commonwealth's Attorney for the City of
        Portsmouth, in her official capacity; J. SPENCER MORGAN, Commonwealth's
        Attorney for the County of Accomack, in his official capacity; WESLEY
        NANCE, Commonwealth's Attorney for the County of Bedford, in his official
        capacity; ANDREW NESTER, Commonwealth's Attorney for the County of
        Henry, in his official capacity; JOSH NEWBERRY, Commonwealth's Attorney
        for the County of Dickenson, in his official capacity; RICHARD NEWMAN,
        Commonwealth's Attorney for the City of Hopewell, in his official capacity;
        MICHAEL NEWMAN, Commonwealth's Attorney for the City of Danville, in his
        official capacity; ERIC L. OLSEN, Commonwealth's Attorney for the County of
        Stafford, in his official capacity; MARY K. PETTITT, Commonwealth's Attorney
        for the County of Montgomery, in her official capacity; GEORGETTE PHILLIPS,
        Commonwealth's Attorney for the County of Isle of Wight, in her official
        capacity; JAMES CHRISTOPHER PLASTER, Commonwealth's Attorney for the
        County of Tazewell, in his official capacity; JOSEPH D. PLATANIA,
        Commonwealth's Attorney for the City of Charlottesville, in his official capacity;
        NARENDRA PLEAS, Commonwealth's Attorney for the City of Suffolk, in her
        official capacity; CHRISTIAN EDWARD REHAK, Commonwealth's Attorney
        for the City of Radford, in his official capacity; T. SCOTT RENICK,
        Commonwealth's Attorney for the County of New Kent, in his official capacity;
        VINCENT L. ROBERTSON, Commonwealth's Attorney for the County of
        Sussex, in his official capacity; DANIEL RUTHERFORD, Commonwealth's
        Attorney for the County of Nelson, in his official capacity; JULIA HUTT
        SICHOL, Commonwealth's Attorney for the County of Westmoreland, in her
        official capacity; JOHN C. SINGLETON, Commonwealth's Attorney for the
        County of Bath, in his official capacity; ANTHONY G. SPENCER,
        Commonwealth's Attorney for the County of Lancaster, in his official capacity;
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        ROSS P. SPICER, Commonwealth's Attorney for the County of Frederick, in his
        official capacity; JORDAN SPIERS, Commonwealth's Attorney for the County of
        Lunenburg, in her official capacity; ZACHARY A. STOOTS, Commonwealth's
        Attorney for the County of Russell, in his official capacity; SHANNON L.
        TAYLOR, Commonwealth's Attorney for the County of Henrico, in her official
        capacity; JACK ARNOLD THORNTON, III, Commonwealth's Attorney for the
        County of Northampton, in his official capacity; ELIZABETH A. TRIBLE,
        Commonwealth's Attorney for the County of Richmond, in her official capacity;
        ROBERT H. TYLER, Commonwealth's Attorney for the County of Charles City,
        in his official capacity; PAUL WALTHER, Commonwealth's Attorney for the
        County of Culpeper, in his official capacity; LEANNE WATROUS,
        Commonwealth's Attorney for the County of Nottoway, in her official capacity;
        PATRICIA TAYLOR WATSON, Commonwealth's Attorney for the County of
        Greensville, in her official capacity; TIFFANY M. WEBB, Commonwealth's
        Attorney for the County of King William, in her official capacity; PATRICK D.
        WHITE, Commonwealth's Attorney for the County of Bland, in his official
        capacity; ANNE MCCARDELL WILLIAMS, Commonwealth's Attorney for the
        County of Clarke, in her official capacity; AMANDA MCDONALD WISELEY,
        Commonwealth's Attorney for the County of Shenandoah, in her official capacity;
        JERRY ALLEN WOLFE, Commonwealth's Attorney for the City of Bristol, in
        his official capacity; JANE WRIGHTSON, Commonwealth's Attorney for the
        County of Northumberland, in her official capacity; HEATHER HOVERMALE,
        In her official capacity as the Commonwealth's Attorney for the City of
        Winchester; KYLE KILGORE, In his official capacity as the Commonwealth's
        Attorney for the County of Scott; M. BRETT HALL, In his official capacity as the
        Commonwealth's Attorney for the County of Wise and the City of Norton

                       Defendants - Appellees

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        AMERICAN TRADE ASSOCIATION FOR CANNABIS AND HEMP

                       Amicus Supporting Appellee

                                         ___________________

                                              ORDER
                                         ___________________

               American Trade Association For Cannabis And Hemp has filed an amicus
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        curiae brief with the consent of the parties.

              The court accepts the brief for filing.

                                                For the Court--By Direction

                                                /s/ Nwamaka Anowi, Clerk
